                                      UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF VIRGINIA
 MICHAEL F. URBANSKI                   210 FRANKLIN ROAD , SW. • ROOM 350                 TELEPHONE 540 857-5124
Chief United States District Judge        ROANOKE, VIRGINIA 240 11 -2208                   FACSIMILE 540 857-5129


                                                November 14, 2018

         Via E CF

         Counsel of Record
         United States v. Dashawn Anthony et al
         4: 18cr00012

                   In re: Sealing Error in 4: 18cr00011 / Continuation of CJA Counsel

         D ear Counsel:

                 As you may be aware, the docket in the companion case of United States v. Marcus
         Davis, No. 4:18cr00011, was inadvertently sealed for a few days last week. I learned of the
         mistake on Monday and immediately took steps to Ex the error. Because of the Veteran's
         Day holiday, appropriate access to the docket in that case was not restored until Tuesday
         morning. The court apologizes for the inadvertent docketing error and trusts that it has not
         presented any issues for you in connection with this case. Should you have any concerns
         resulting from this clerical error, please let me know.

                Given the Notice of Death Penalty Determination flied by the government in this
         case on November 1, 2018 indicating that the Attorney General of the United States has
         authorized and directed the United States Attorney for the Western District of Virginia not
         to seek the death penalty in this case, the court expects to set trial dates at the pretrial
         conferences set for November 29 and 30, 2018. The court will also address any issues
         presently pending along with those raised at the pretrial conference.

                 Regardless of this decision by the government, it is my understanding that 18 U.S.C. §
         3005 requires that each defendant indicted for a capital crime be assigned two counsel. Thus,
         I believe that each defendant may continue to be represented by two CJA counsel in this
         case. I would ask that CJA counsel continue to work with Judge Ballou and Larry Dash
         concerning case budgets.

                 Please let me know if there are any issues that you would like to have addressed at the
         pretrial conferences set at the end of this month.




                                                               ·chael F. Urbanski
                                                              Chief United States District Judge



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